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                                   STATEMENT OF FACTS

        Your affiant, Kimberly Johnson, is a Special Agent assigned to the Joint Terrorism Task
Force in the Fort Myers Resident Agency of the Tampa, Florida Division of the Federal Bureau of
Investigation. In my duties as a special agent, I have conducted and assisted with many violations
of federal laws, including international and domestic terrorism matters in the Washington, D.C.,
area. Currently, I am tasked with investigating criminal activity in and around the Capitol grounds
on January 6, 2021. As a Special Agent, I am authorized by law or by a Government agency to
engage in or supervise the prevention, detection, investigation, or prosecution of a violation of
Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.
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        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

       On January 12, 2021, Person-1, a relative of Jason Michael COMEAU, reported to the FBI
that COMEAU had admitted to Person-1 that he had entered the U.S. Capitol Building on January
6, 2021, during the time when the Capitol was breached. Person-1 reported that COMEAU was
confused because he believed some U.S. Capitol Police officers had told the crowd to enter the
Capitol Building and others had told them to stay out.

        The FBI conducted a voluntary interview with COMEAU on January 18, 2021, at
COMEAU’s residence in Port Charlotte, Florida. COMEAU again admitted that he had entered
the U.S. Capitol Building on January 6, 2021. COMEAU stated that he traveled from Florida to
Washington, D.C. on January 4. On the morning of January 6, he attended a rally in Washington
D.C. in support of former President Trump. At the end of the rally, COMEAU described,
thousands of people began walking toward the U.S. Capitol. Once he reached the Capitol,
COMEAU pushed through the assembled crowd to the stairs leading into the Capitol Building. He
observed a few U.S. Capitol Police officers standing in front of an open door. As COMEAU
described, the crowd chanted “Let us in, let us in,” and, after several minutes, he claimed, the
officers moved to the side, and individuals in the crowd began to enter the building.

        COMEAU stated that, after watching the large number of people enter the U.S. Capitol and
seeing officers move to the side, he believed it was permissible to enter the building. COMEAU
followed the group into the U.S. Capitol. Once inside, he saw officers asking people to leave. He
claimed he had not gone further than a hallway and left the Capitol Building when officers asked
him to do so. He also claimed that he had only followed the group into the Capitol Building because
he thought the group had been allowed to enter. Outside the building, COMEAU observed
individuals scaling the walls of the Capitol and yelling.

       Despite COMEAU’s claim that he believed the crowd was allowed to enter the Capitol
Building, according to U.S. Capitol Police, the crowd of rioters was not. Barricades were set up
outside the Capitol Building. Before entering the Capitol Building, no members of the crowd
submitted to security screenings or weapons checks by U.S. Capitol Police Officers or other
authorized security officials.

        The FBI has identified COMEAU inside the Capitol Building in U.S. Capitol Police
security footage, Metropolitan Police Department body-worn camera, and open-source video.
Timestamps on the video footage indicate that COMEAU was inside the U.S. Capitol for at least
20 minutes. COMEAU is recognizable in part based on his backpack, gray baseball cap, and jacket
with a light-colored horizontal stripe across the chest.

      Below are two still frames from Metropolitan Police Department body-worn camera,
showing COMEAU shortly before he left the Capitol Building:




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      Below are pictures of COMEAU walking through Statuary Hall at approximately 2:32 p.m.
Yellow arrows point to COMEAU.




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        Furthermore, while COMEAU indicated that he had only gone as far as a “hallway,” he in
fact progressed from an entrance to the Capitol to the Capitol’s Statuary Hall to the Statuary Hall
Connector, a passage leading to the House Chamber. At approximately 2:35 p.m., rioters advanced
through the Statuary Hall Connector and pushed back a line of Capitol Police officers stationed
there, reaching doors to the House Chamber.

        Below is a still frame of COMEAU from an open-source video (“JaydenX video”)
depicting events inside the Capitol on January 6. Shortly after the crowd pushed back Capitol
Police in the Statuary Hall Connector, COMEAU can be seen in the Statuary Hall Connector,
among the group that had advanced toward doors leading to the House Chamber. Rioters at the
front of the group banged on the doors. COMEAU can be seen and heard joining chants of “Stop
the steal!”




        The individual identified as COMEAU in the footage described above resembles the
individual interviewed by the FBI on January 18 and COMEAU’s appearance on his driver’s
license, as well as the individual in the following profile picture on the Facebook page associated
with COMEAU:




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       This Facebook page lists a residence of Port Charlotte, Florida, where COMEAU lives.
The publicly available videos on the Facebook page include four videos from January 6, 2021 that
appear to document an individual’s walk from a metro station in Washington D.C. to the rally in
support of President Trump, followed by movement from the rally along Constitution Avenue
toward the U.S. Capitol.

       The FBI subsequently sent Person-1 screenshots from various video taken inside the
Capitol on January 6, including the body-worn camera, Capitol security footage, and JaydenX
video screenshots included above. Person-1 positively identified COMEAU inside the U.S.
Capitol.

        Additionally, according to records obtained through a search warrant which was served on
AT&T, on January 6, 2021, in and around the time of the incident, the cell phone associated with
(941) 276-9668 was identified as having utilized a cell site consistent with providing service to a
geographic area that includes the interior of the United States Capitol building. During his January
18 interview, COMEAU confirmed that (941) 276-9668 was his phone number.

    Based on the foregoing, your affiant submits that there is probable cause to believe that
COMEAU violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly enter

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or remain in any restricted building or grounds without lawful authority to do; and (2) knowingly,
and with intent to impede or disrupt the orderly conduct of Government business or official
functions, engage in disorderly or disruptive conduct in, or within such proximity to, any restricted
building or grounds when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct
of Government business or official functions, or attempts or conspires to do so. For purposes of
Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off, or otherwise
restricted area of a building or grounds where the President or other person protected by the Secret
Service, including the Vice President, is or will be temporarily visiting; or any building or grounds
so restricted in conjunction with an event designated as a special event of national significance.

        Your affiant submits there is also probable cause to believe that COMEAU violated 40
U.S.C. §§ 5104(e)(2)(D) and (G), which makes it a crime to willfully and knowingly (D) utter
loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place
in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the
orderly conduct of a session of Congress or either House of Congress, or the orderly conduct in
that building of a hearing before, or any deliberations of, a committee of Congress or either House
of Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.


                                                      ____________________________________
                                                      Kimberly Johnson, Special Agent
                                                      Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 13th day of October 2021.                                 Zia M. Faruqui
                                                                       2021.10.13
                                                                       15:33:19 -04'00'
                                                      ___________________________________
                                                      ZIA M. FARUQUI
                                                      U.S. MAGISTRATE JUDGE




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